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                         EXHIBIT 2
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF LOUISIANA
                                MONROE DIVISION

   STATE OF LOUISIANA, STATE OF
   MISSOURI, et al.

                   Plaintiffs,

      v.                                                Case No. 3:22-cv-01213-TAD

   JOSEPH R. BIDEN, JR., in his official
   capacity as President of the United States, et
   al.,

                   Defendants.


                           DECLARATION OF JASIMIEL JONES

   1. My name is Jasimiel Jones. I am a paralegal employed by the Louisiana Department of

Justice. I am over eighteen years of age and competent to testify to the matters discussed herein.

   2. Attached hereto as Exhibit A is a set of excerpts from the published transcript of the hearing

of the March 25, 2021, hearing of the House of Representatives, Subcommittee on

Communications and Technology, joint with Subcommittee on Consumer Protection and

Commerce, Committee on Energy and Commerce, entitled “Disinformation Nation: Social

Media’s Role in Promoting Extremism and Misinformation.”

   3. Attached hereto as Exhibit B is a set of excerpts from a published transcript of the hearing

of the House Judiciary Committee on antitrust issues from July 29, 2020.

   4. Attached hereto as Exhibit C is a set of excerpts from a published transcript of the hearing

of the Senate Judiciary Committee on November 17, 2020.

   5. Attached hereto as Exhibit D is an article published in the Daily Signal on March 11, 2022,

entitled “Democrats, Green Activists Pressure Big Tech to Censor More Climate



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‘Misinformation,’”    available   at    https://www.dailysignal.com/2022/03/11/democrats-green-

activists-pressure-big-tech-to-censor-more-climate-misinformation/.

   6. Attached hereto as Exhibit E is the White House’s published account of the United We

Stand Summit on September 15, 2022, United We Stand Summit, September 15, 2022, at

https://unitedwestand.gov/.

   7. Attached hereto as Exhibit F is a list of 84 federal officials produced by Twitter to Plaintiffs

in response to Plaintiffs’ third-party subpoena seeking the identity of federal officials who have

communicated or are communicating with Twitter about misinformation, disinformation, and/or

censorship of speech on social media.

   8. Attached hereto as Exhibit G is a February 24, 2021 email exchange between Rob Flaherty

and Facebook produced by Defendants in discovery.

   9. Attached hereto as Exhibit H is a March 1, 2021 email from Twitter to White House

officials produced by Defendants in discovery.

   10. Attached hereto as Exhibit I are screenshots of Tucker Carlson’s Facebook pages for his

personal account and the account for his news show, reflecting the number of followers for each

account as of March 1, 2023.

   11. Attached hereto as Exhibit J is Alex Berenson’s Substack article entitled, “The White

House Privately Demanded Twitter Ban Me Months Before the Company Did So,” available at

https://alexberenson.substack.com/p/the-white-house-privately-demanded.

   12. Attached hereto as Exhibit K is a Google calendar invite to a meeting between

Google/YouTube and White House officials on April 21, 2021, which was produced by

Defendants in discovery.




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   13. Attached hereto as Exhibit L is an email from Rob Flaherty to Facebook dated April 23,

2021, which Defendants produced in discovery.

   14. Attached hereto as Exhibit M is the article Alexander Hall, Biden climate advisor demands

tech companies censor ‘disinformation’ to promote ‘benefits of clean energy’, FOX NEWS (June

14, 2022), at https://www.foxnews.com/media/biden-climate-advisor-tech-companies-censor-

disinformation-promote-benefits-clean-energy (video of comments embedded in link).

   15. Attached hereto as Exhibit N is the White House’s June 16, 2022 Memorandum entitled,

White House, Memorandum on the Establishment of the White House Task Force to Address

Online Harassment and Abuse (June 16, 2022), at https://www.whitehouse.gov/briefing-

room/presidential-actions/2022/06/16/memorandum-on-the-establishment-of-the-white-house-

task-force-to-address-online-harassment-and-abuse/.

   16. Attached hereto as Exhibit O is an article from the Fox News website entitled “Rachel

Levine ripped for demanding censorship of ‘misinformation’ on ‘gender-affirming care’ for kids,”

dated December 26, 2020.

   17. Attached hereto as Exhibit P is the White House’s July 8, 2022 Executive Order entitled

“Executive Order on Protecting Access to Reproductive Healthcare Services,” available at

https://www.whitehouse.gov/briefing-room/presidential-actions/2022/07/08/executive-order-on-

protecting-access-to-reproductive-healthcare-services/.

   18. Attached hereto as Exhibit Q is the June 17, 2022 Letter of Senator Mark Warner and other

Senators      to     Google,      which       is       available   at    https://reason.com/wp-

content/uploads/2022/06/26F26BB28841042A7931EEC58AC80E08.anti-abortion-letter-to-

google-final.pdf.




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   19. Attached hereto as Exhibit R is the article Jessica Busztynsky, White House Says Social

Media Networks Should Be Held Accountable for Spreading Misinformation, CNBC (Jul. 20,

2021, 12:06 PM), available at https://www.cnbc.com/2021/07/20/white-house-social-networks-

should-be-held-accountable-for-spreading-misinfo.html.

   20. Attached hereto as Exhibit S is an email exchange between Facebook and Carol Crawford

of the CDC dated March 25, 2021, which was produced by Defendants in discovery.

   21. Attached hereto as Exhibit T is an email exchange between Google/YouTube and CDC

officials dates March 25, 2021, which was produced by Defendants in discovery.

   22. Attached hereto as Exhibit U is an email exchange dated May 14, 2021, between CDC

officials, Census Bureau officials, and officials at Facebook, Twitter, and YouTube, which was

produced pursuant to FOIA request.

   23. Attached hereto as Exhibit V is an email exchange dated May 28, 2021, between CDC

officials, Census Bureau officials, and officials at Facebook, Twitter, and YouTube, which was

produced pursuant to FOIA request.

   24. Attached hereto as Exhibit W is an email exchange dated June 17, 2021, between CDC

officials, Census Bureau officials, and officials at Facebook, Twitter, and YouTube, which was

produced pursuant to FOIA request.

   25. Attached hereto as Exhibit X is the USA Today interview of Dr. Fauci published June 17,

2021, Alison Young, ‘I remember it very well’: Dr. Fauci describes a secret 2020 meeting to talk

about      COVID        origins,     USA        TODAY         (June      17,      2021),      at

https://www.usatoday.com/story/opinion/2021/06/17/covid-19-fauci-lab-leaks-wuhan-china-

origins/7737494002/.




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      26. Attached hereto as Exhibit Y is a Slack message of Matt Frieman discussing Dr. Ralph

Baric dated February 18, 2020, at 2:25 p.m.

      27. Attached hereto as Exhibit Z is the Scientific American’s profile of Dr. Shi Zhengli dated

June 1, 2020, entitled “How China’s ‘Bat Woman’ Hunted Down Viruses from SARS to the New

Coronavirus.”

      28. Attached hereto as Exhibit AA is the Vanity Fair feature dated March 31, 2022, entitled

Katherine Eban, “This Shouldn’t Happen”: Inside the Virus-Hunting Nonprofit at the Center of

the        Lab-Leak      Controversy,      VANITY        FAIR    (March       31,        2022),    at

https://www.vanityfair.com/news/2022/03/the-virus-hunting-nonprofit-at-the-center-of-the-lab-

leak-controversy.

      29. Attached hereto as Exhibit BB is the article from The Nation dated January 19, 2023,

entitled, Jimmy Tobias, Unredacted NIH E-mails Show Efforts to Rule Out a Lab Origin of Covid,

THE NATION (Jan. 23, 2023), at https://www.thenation.com/article/society/nih-emails-origin-

covid-lab-theory/.

      30. Attached hereto as Exhibit CC is the correspondence from The Lancet dated February 18,

2020, entitled “Statement in support of the scientists, public health professionals, and medical

professionals of China combatting COVID-19,” co-signed by Jeremy Farrar and Peter Daszak.

      31. Attached hereto as Exhibit DD is the NBC News article, Erika Edwards, The Lancet

retracts     large    study   on   hydroxychloroquine,     NBC    NEWS     (June    4,    2020),   at

https://www.nbcnews.com/health/health-news/lancet-retracts-large-study-hydroxychloroquine-

n1225091.

      32. Attached hereto as Exhibit EE is an email exchange between Dr. Fauci and Sylvia Burwell

dated February 5, 2020, which was produced pursuant to FOIA request.




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   33. Attached hereto as Exhibit FF are a CISA document produced by Defendants in discovery

bearing Bates numbers MOLA_DEFSPROD_00007994 to MOLA_DEFSPROD_00008029.

   34. Attached hereto as Exhibit GG is a “tracking spreadsheet” of “switchboarding”

communications prepared by CISA and produced by Defendants in discovery.

   35. Attached hereto as Exhibit HH is a Notice of Manual Attachment. On March 6, 2023, the

Louisiana Department of Justice caused to be sent, by overnight delivery, video discs containing

the videorecorded deposition testimony of Daniel Kimmage, Carol Crawford, Dr. Anthony Fauci,

Elvis Chan, Eric Waldo, and Brian Scully, redacted to comply with the Court’s protective order,

as well as a video containing a compilation of excerpts of the videorecording of Dr. Fauci’s

testimony, to the Clerk of the Court, to the chambers of U.S. District Judge Terry A. Doughty, and

to counsel for Defendants, as reflected in a contemporaneous notice of filing.



I swear or affirm, under penalty of perjury, that the foregoing is true and correct to the best of my

knowledge.



Dated:         March 6, 2023                          Signed:        /s/ Jasimiel Jones
                                                                     Jasimiel Jones




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